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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et al.,! Case No, 14-10979 (CSS)

Debtors, (Jointly Administered}

Hearing Date; November 25, 2015 at 10:00 a.m.

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NOTICE OF “OBJECTION OF ENERGY FUTURE HOLDINGS
CORP., ET AL., TO PROOFS OF CLAIM 7475, 7480, 7481, AND 6874-6943
FILED BY AMERICAN STOCK TRANSFER & TRUST CO. AS INDENTURE
TRUSTEE FOR THE EFH LBO NOTES” AND HEARING THEREON

PLEASE TAKE NOTICE that, on October 23, 2015, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed the attached Objection of Energy
Future Holdings Corp., et al., to Proofs of Claim 7475, 7480, 7481, and 6874-6943 Filed By
American Stock Transfer & Trust Co. As Indenture Trustee for the EFH LBO Notes (the

“Claim Objection”) with the United States Bankruptcy Court for the District of Delaware (the

“Bankruptcy Court”).

PLEASE TAKE FURTHER NOTICE that any responses or objections to the Claim
Objection must be in writing, filed with the Clerk of the Bankruptcy Court, 824 North Market
Street, 3" Floor, Wilmington, Delaware 19801, and served upon and received by the undersigned
co-counsel for the Debtors on or before November 6, 2015 at 4:00 p.m. (Eastern Standard

Time).

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810, The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the debtors’ claims and
noticing agent at http://www.efhcaseinfo.com.

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Objection Deadline: November 6, 2015 at 4:00 p.m.

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PLEASE TAKE FURTHER NOTICE that if an objection is timely filed, served and
received and such objection is not otherwise timely resolved, a hearing to consider such
objection and the Claim Objection will be held before The Honorable Christopher 8. Sontchi at
the Bankruptcy Court, 824 North Market Street, 5" Floor, Courtroom 6, Wilmington, Delaware
19801 on November 25, 2015 at 10:00 a.m, (Eastern Standard Time).

IF NO OBJECTIONS TO THE CLAIM OBJECTION ARE TIMELY FILED, SERVED
AND RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT
MAY GRANT THE RELIEF REQUESTED IN THE CLAIM OBJECTION WITHOUT

FURTHER NOTICE OR HEARING.

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Dated: October 23, 2015
Wilmington, Delaware

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RICHA , LAYTON & FINGER, P.A.
Mark D, Collins (No, 2981)

Daniel J, DeFranceschi (No, 2732)

Jason M. Madron (No. 4431)

920 North King Street

Wilmington, Delaware 19801

Telephone: (302) 651-7700

Facsimile: (302) 651-7701

Email: collins@rlf.com
defranceschi@rlficom
madron@rlf.com

-and-

KIRKLAND & ELLIS LLP

KIRKLAND & ELLIS INTERNATIONAL LLP

Edward O. Sassower, P.C. (admitted pro hac vice)

Stephen E. Hessler (admitted pro hac vice)

Brian E. Schartz (admitted pro hac vice)

601 Lexington Avenue

New York, New York 10022-4611

Telephone: (212) 446-4800

Facsimile: (212) 446-4900

Email: edward.sassower@kirkland.com
stephen.hessler@kirkland.com
brian.schartz@kirkland.com

-and-

James H.M. Sprayregen, P.C. (admitted pro hac vice)

Marc Kieselstein, P.C. (admitted pro hac vice)

Chad J. Husnick (admitted pro hac vice)

Steven N. Serajeddini (admitted pro hac vice)

300 North LaSalle

Chicago, Illinois 60654

Telephone: (312) 862-2000

Facsimile: (312) 862-2200

Email: james.sprayregen@kirkland.com
marc.kieselstein@kirkland.com
chad. husnick@kirkland.com
steven.serajeddini@kirkland.com

Co-Counsel to the Debtors and Debtors in Possession
